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            In the United States Court of Federal Claims
                                            No. 14-388L
                                       (Filed: May 14, 2021)

*************************************
WILLIAM C. HARDY & BERTIE ANN *
HARDY et al.,                       *
                                    *
                  Plaintiffs,       *
                                    *                  Motion to Strike; RCFC 5.4(b)(2);
      v.                            *                  RCFC 12(f); Inherent Power
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
*************************************

Elizabeth A. Gepford McCulley, Kansas City, MO, for plaintiffs.

David A. Harrington, United States Department of Justice, Washington, DC, for defendant.

                                     OPINION AND ORDER

SWEENEY, Senior Judge

        Plaintiffs in the above-captioned matter filed a motion for an award of reasonable
attorneys’ fees and costs under the Uniform Relocation Assistance and Real Property Acquisition
Policies Act of 1970 (“URA”). Before the court is defendant’s motion to strike plaintiffs’ reply
in support of that motion. For the reasons discussed below, the court denies defendant’s motion.

                                        I. BACKGROUND

        In this rails-to-trails action, plaintiffs own real property subject to easements for railroad
purposes in Newton County, Georgia. Defendant authorized the conversion of the railroad
rights-of-way into recreational trails pursuant to the National Trail Systems Act, conduct that
resulted in a taking in violation of the Just Compensation Clause of the Fifth Amendment to the
United States Constitution. Of the 156 parcels at issue in this case, the United States Court of
Appeals for the Federal Circuit (“Federal Circuit”) affirmed defendant’s liability for a taking
with respect to 145 of them.1 Hardy v. United States, 965 F.3d 1338 (Fed. Cir. 2020).



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         As for the remaining eleven parcels, this court recently determined, on remand from the
Federal Circuit, that defendant was not liable for a taking. Hardy v. United States (“Hardy VII”),
No. 14-388L, 2021 WL 1310848 (Fed. Cl. Apr. 8, 2021).
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        Subsequently, the parties tried but failed to reach an agreement on URA fees. Plaintiffs
then filed, and the parties briefed, a motion for attorneys’ fees and costs. In total, plaintiffs’
motion sought $2,005,360.50 in fees and $481,428.10 in costs. Pls.’ Mot. 4. Defendant
extended a significantly lower counteroffer, suggesting that plaintiffs should receive no more
than $671,375.52 in fees and $258,538.85 in costs. Def.’s Resp. 8 & n.4.

        The crux of the present controversy is plaintiffs’ reply in support of their URA motion,
filed on March 15, 2021. In this thirty-page brief, plaintiffs assert that defendant’s counteroffer
was “generated in bad faith,” theorizing that it seemed “based upon some personal animosity
from the government’s counsel.” Pls.’ Reply 4.2 Plaintiffs speculate that “the government’s
counsel definitely seems to ‘resent the success of their opposing counsel’” and that this
demonstrates “the ‘churlish behavior’ of the government’s counsel.” Id. at 6 (quoting Order,
Nov. 2, 2020, ECF No. 236). Plaintiffs also comment on defendant’s briefing of the causation
issue, maintaining that defendant displayed “obvious animosity” and that “the entire reply brief
was nothing more than a bizarre and improper personal attack repeatedly directed at ‘Mr.
Stewart’ . . . .” Id. at 4 n.4. Accompanying the brief were three exhibits, containing sixty pages
of receipts and invoices. Pls.’ Reply Exs. B-2, B-3, B-4. Defendant indicates that plaintiffs had
not provided this documentation during their negotiations. Def.’s Mot. 3.

         On March 26, 2021, defendant filed its motion to strike plaintiffs’ reply. Defendant
advances three grounds for this request. First, it asserts that the reply contains “impertinent and
scandalous material,” allowing the court to strike it under Rule 12(f) of the Rules of the United
States Court of Federal Claims (“RCFC”). Id. at 4-7. Second, it contends that the reply
inappropriately introduces new evidence.3 Id. at 7-9. Third, it observes that the reply violates
RCFC 5.4(b)(2) by exceeding the page limit without plaintiffs first obtaining the court’s leave.
Id. at 4. The parties fully briefed the motion, and neither party requested oral argument. Finding
oral argument unnecessary, the court determines that the motion is ripe for adjudication.

                                        II. DISCUSSION

                                         A. RCFC 12(f)

        RCFC 12(f) provides that “[t]he court may strike from a pleading an insufficient defense
or any redundant, immaterial, impertinent, or scandalous matter.” However, courts disfavor
motions to strike and grant them rarely. Entergy Nuclear Fitzpatrick, LLC v. United States, 93
Fed. Cl. 739, 742 (2010) (quoting Fisherman’s Harvest, Inc. v. United States, 74 Fed. Cl. 681,
690 (2006)). Striking a pleading is improper if “the referenced material creates no prejudice or
confusion” in the court’s consideration of the case. Impresa Construzioni Geom. Garufi v.
United States, 61 Fed. Cl. 175, 177 (2004), appeal voluntarily dismissed, 125 F. App’x 310 (Fed.
Cir. 2005). Moreover, only the following documents are considered pleadings: complaints,

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          The first two pages of plaintiffs’ reply are both labeled as page one. Thus, the court
will use the page numbers generated by CM/ECF when citing to this document.
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          Alternatively, if the court does not strike the new evidence, defendant requests that the
court allow it sufficient opportunity to review the evidence and respond to it. Def.’s Mot. 9.

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answers to complaints or counterclaims, replies to offsets or pleas of fraud contained in an
answer, third party pleadings, and replies to answers. RCFC 7(a). Courts generally construe the
term “pleading” narrowly in this context. Fisherman’s Harvest, Inc., 74 Fed. Cl. at 690.
Motions such as those for attorneys’ fees, and any subsequent briefs filed in support thereof, are
not pleadings. See id. (motion for leave to join as parties not a pleading); Boston Edison Co. v.
United States, 64 Fed. Cl. 167, 180 n.15 (2005) (affidavit not a pleading); Sharpe v. MCI
Telecomm. Corp., 19 F. Supp. 2d 483, 487 (E.D.N.C. 1998) (cross-motion for summary
judgment not a pleading); Heise v. Olympus Optical Co., 111 F.R.D. 1, 4 (N.D. Ind. 1986)
(amended motion to dismiss not a pleading). Therefore, the court will not employ RCFC 12(f) as
defendant requests.

        Alternatively, in its reply in support of its motion to strike, defendant also urges the court
to strike plaintiffs’ reply based on the court’s “inherent power to strike documents other than
pleadings.”4 Def.’s Reply 2. This inherent power is a mechanism for “control necessarily vested
in courts to manage their own affairs so as to achieve the orderly and expeditious disposition of
cases.” Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991) (quoting Link v. Wabash R.R. Co.,
370 U.S. 626, 630-31 (1962)). A court’s inherent power includes the authority to strike items
from its docket. Ready Transp., Inc. v. AAR Mfg., Inc., 627 F.3d 402, 404 (9th Cir. 2010). But
the court declines to exercise that power here.

        Although courts have applied various definitions of what constitutes “scandalous matter,”
Arunchalam v. Int’l Bus. Machs. Corp., 989 F.3d 988, 999 n.14 (Fed. Cir. 2021), they have been
reluctant to strike material on this basis under any but the most extreme circumstances, see, e.g.,
Talbot v. Robert Matthews Distrib. Co., 961 F.2d 654, 664-65 (7th Cir. 1992) (affirming court’s
decision to strike allegations that “defendants intentionally caused [a] salmonella outbreak . . . or
allowed it to continue in order to consummate a fraudulent scheme”); Collura v. City of
Philadelphia, 590 F. App’x 180, 185 & n.7 (3d Cir. 2014) (affirming court’s decision to strike
allegations employing “abusive language and ad hominem attacks,” including referring to certain
defendants as “creeps” and “scumbags”); Atraqchi v. Williams, 220 F.R.D. 1, 3 (D.D.C. 2004)
(striking allegations regarding a “world-wide religious inquisition” and “illegal wiretapping by
the U.S. Government”); Pigford v. Veneman, 215 F.R.D 2, 4-5 (D.D.C. 2003) (striking
allegations of racism that were “unsupported by facts or evidence” and “constitute[d] a form of
harassment”); Wiggins v. Philip Morris, Inc., 853 F. Supp. 457, 458 (D.D.C. 1994) (striking
allegations regarding the drug use of plaintiff’s former supervisor, who was not a party).5 Here,


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          Although parties generally waive arguments raised for the first time in a reply, see infra
Section II.B, they cannot waive the court’s exercise of its own inherent power.
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           Although the phrase “scandalous matter” comes from RCFC 12(f), not from the
common law underpinning the court’s inherent power, the phrase still provides a useful guideline
in this context. Like its counterpart in the Federal Rules of Civil Procedure, RCFC 12(f) is, after
all, “a codification of part of the [trial court’s] inherent power to manage pending
litigation.” Allapattah Servs., Inc. v. Exxon Corp., 372 F. Supp. 2d 1344, 1371 (S.D. Fla. 2005);
accord Byrne v. Nezhat, 261 F.3d 1075, 1129 n.105 (11th Cir. 2001) (abrogated on other
grounds). Thus, courts sometimes find it instructive to consider this rule by analogy when

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plaintiffs’ allegations are intended primarily to express incredulity at defendant’s counteroffer,
which is admittedly quite low. The allegations verge on impropriety, but plaintiffs’ cynical
interpretation of defendant’s litigation stance does not ultimately cross the line into “scandalous
matter.” Mindful of its responsibility to exercise its inherent powers “with restraint and
discretion,” Chambers, 501 U.S. at 44-45, the court will not intercede at this time.

         While the court does not find it appropriate to strike plaintiffs’ reply, it notes that it does
not credit plaintiffs’ accusations of bad faith and personal animosity against defendant’s counsel.
The court has already addressed the merits of defendant’s causation arguments, see generally
Hardy VII, 2021 WL 1310848, and it will not address the merits of defendant’s URA arguments
here. But regardless of the merits, the court finds no evidence of this supposed hostility in any of
defendant’s briefs or the other communications documented by the parties. The court does not
fault defendant’s counsel for diligently advocating for his client, and contrary to plaintiffs’
allegations, see Pls.’ Resp. 3, the court does not view defendant’s motion to strike as frivolous.
The court cautions plaintiffs’ counsel against making such unsubstantiated accusations in future
filings.

                                 B. Submission of New Materials

        Turning to the next basis for defendant’s motion to strike, a party generally waives an
argument raised for the first time in its reply. United States v. Ford Motor Co., 463 F.3d 1267,
1276-77 (Fed. Cir. 2006); see also Townsend v. Monster Beverage Corp., 303 F. Supp. 3d 1010,
1027 (C.D. Cal. 2018) (noting that trial courts “may decline to consider new evidence or
arguments raised in reply”). When approaching new arguments or evidence filed in a reply, the
central question is whether the opposing party is thus deprived of an opportunity to respond.
See, e.g., Ford Motor Co., 463 F.3d at 1277 (“It is unfair to consider an argument to which the
government has been given no opportunity to respond.”); Springs Indus., Inc. v. Am. Motorists
Ins. Co., 137 F.R.D. 238, 239 (N.D. Tex. 1991) (“[A] reply brief that presents dispositive
evidence by way of new affidavits and exhibits deprives the nonmovant of a meaningful
opportunity to respond.”). If there has been such a deprivation, a court may allow the opposing
party time to consider the new evidence and file a surreply. See Green v. New Mexico, 420 F.3d
1189, 1196 (10th Cir. 2005) (“Generally, the nonmoving party should be given an opportunity to
respond to new material raised for the first time in the movant’s reply.”); Banga v. First USA,
NA, 29 F. Supp. 3d 1270, 1276 (N.D. Cal. 2014) (“If a party raises a new argument or presents
new evidence in a reply brief, a court may consider these matters only if the adverse party is
given an opportunity to respond.”); accord Acumed LLC v. Stryker Corp., 551 F.3d 1323, 1331-



determining whether to strike a filing on similar grounds. E.g., Avendano v. Sec. Consultants
Grp., No. 3:13-cv-168, 2014 WL 6611384, at *2 (D. Nev. Nov. 19, 2014) (concluding that “even
when a paper is not a ‘pleading’ for the purposes of Rule 12(f), the court may exercise its
inherent power to strike redundant, immaterial, impertinent, or scandalous filings when the
administration of justice so requires”); In re Johnson, 236 B.R. 510, 521 (D.D.C. 1999)
(discussing with approval a party’s use of the rule’s language to “reinforce his argument for the
use of” the court’s inherent power).

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32 (Fed. Cir. 2008) (applying Ninth Circuit precedent); Provenz v. Miller, 102 F.3d 1478, 1483
(9th Cir. 1996); Black v. TIC Inv. Corp., 900 F.2d 112, 116 (7th Cir. 1990).

        To ensure that it can adjudicate plaintiffs’ motion based on as complete of a record as
possible, the court will exercise its discretion and allow plaintiffs to file the three disputed
exhibits attached to its reply. Because the new documentation is “consistent with the argument
and evidence presented in the moving papers,” Hodges v. Hertz Corp., 351 F. Supp. 3d 1227,
1249 (N.D. Cal.), negligible disruption will be caused by allowing plaintiffs to present it. The
court will also grant defendant’s request to file a surreply addressing the new exhibits. The court
reminds plaintiffs that they can facilitate more rapid adjudication of URA fees in the future by
providing full documentation of their expenses with the motion itself.

                                       C. RCFC 5.4(b)(2)

       Finally, plaintiffs concede that their reply exceeds the page limit set forth in RCFC
5.4(b)(2). Pls.’ Resp. 9. They assert that defendant’s response in opposition to their motion
necessitated a longer reply, claiming that the response was “more like a cross motion.” Id. at 10.
Defendant disputes this characterization. Def.’s Reply 3 (emphasizing that unlike a cross-
motion, its response made no “competing request for relief”).

        RCFC 5.4(b)(2) dictates that “a reply brief or memorandum must not exceed 20 pages
(30 pages when a response to a motion is included)” without the court’s leave. Regardless of the
content of defendant’s response, plaintiffs should have sought the court’s permission before
filing such a lengthy brief. But “as a matter of grace,” Katzin v. United States, No. 12-384L,
2016 WL 1178387, at *1 (Fed. Cl. Mar. 24, 2016), and in the interest of thorough briefing, the
court will allow plaintiffs’ reply to exceed the page limit. The length of plaintiffs’ reply further
supports the court’s decision to allow defendant to file a surreply. See Quimba Software, Inc. v.
United States, 132 Fed. Cl. 676, 683 (2017) (observing that any potential “inequities” caused by
one party exceeding the page limit were cured by additional briefing).

                                       III. CONCLUSION

        In short, the court DENIES defendant’s motion to strike. Because plaintiffs belatedly
filed new evidence with their reply, the court will allow defendant an opportunity to respond.
Defendant shall file its surreply to plaintiffs’ URA motion no later than Friday, June 4, 2021.

       IT IS SO ORDERED.


                                                  s/ Margaret M. Sweeney
                                                  MARGARET M. SWEENEY
                                                  Senior Judge




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